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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


ROBERT SNYDER,                                      CASE NO. 2:06-CV-348
                                                    CRIM. NO. 2:05-CR-60
       Petitioner,                                  JUDGE MARBLEY
                                                    MAGISTRATE JUDGE KING
v.

UNITED STATES OF AMERICA,

       Respondent.

                                   OPINION AND ORDER

       On April 5, 2007, the Magistrate Judge issued a Report and Recommendation recommending

that the instant petition for a writ of habeas corpus pursuant to 28 U.S.C. §2254 be dismissed.

Although the parties were specifically advised of their right to object to the Magistrate Judge’s

recommendation, and of the consequences of failing to do so, nevertheless, there has been no

objection to the Magistrate Judge’s Report and Recommendation.

       The Report and Recommendation is ADOPTED and AFFIRMED. This action is hereby

DISMISSED.

       IT IS SO ORDERED.

                                                                  s/Algenon L. Marbley
                                                                ALGENON L. MARBLEY
                                                                United States District Judge
